Case 8:00-cr-00117-JSM-TGW Document 400 Filed 05/17/06 Page 1 of 9 PageID 2085




                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION


 CESAR DOMINGUES,

        Petitioner,

 v.                                                    CASE NO: 8:03-CV-2497-T-30MSS
                                                          Crim. Case No: 8:00-CR-117-T-MSS
 UNITED STATES OF AMERICA,

       Respondent.
 ____________________________________/


                                          ORDER

        THIS CAUSE comes before the Court upon Petitioner’s Motion to Vacate, Set Aside,

 or Correct Sentence Pursuant to 28 U.S.C. §2255 (CV Dkt. #1) filed on December 1, 2003.

 Petitioner (hereinafter referred to as “Petitioner” or “Domingues”) is a federal inmate

 proceeding pro se in this matter. The Government filed its Response (Dkt. #4), to which

 Petitioner has replied (Dkt. #11). For the reasons set forth herein, Petitioner’s motion will

 be denied.

                                         Background

        The following background of this case is taken from the Eleventh Circuit Court of

 Appeal opinion entered on July 17, 2003, in the direct appeal of the underlying criminal case,

 United States v. Quinones, ____ F. 3d ____, 2003 WL 21803292 (11th Cir. 2003), appeal

 number 01-14142:
Case 8:00-cr-00117-JSM-TGW Document 400 Filed 05/17/06 Page 2 of 9 PageID 2086




       In the early 1990's, Jose Castrillon-Henoa and Pedro Navarette operated a
       cocaine transportation business from their fishing company in Buenaventura,
       Colombia. Vessels from their company traveled from Buenaventura to 200 to
       300 miles off the coast of Equador, where the crews would retrieve cocaine
       that had been dropped from airplanes into the sea. The vessels usually carried
       cement mix to seal compartment areas later where the cocaine was hidden.
       The vessels laden with cocaine then sailed for the coast of Mexico. Cocaine
       smuggled along the Castrillon-Henoa/Navarette route was ultimately destined
       for the United States.

       By 1998, the delivery method changed slightly in that the drugs were
       transported offshore by speed boats, where the drugs were then transferred to
       small vessels; the vessels in turn would deliver the drugs to larger vessels. The
       larger vessels then sailed north to Mexico, where the drugs were transferred
       to Mexican fishing vessels.

       On 4 April 2000, the U.S.S. John A. Moore – a United States Navy frigate –
       was patrolling the coastal areas of Ecuador and Colombia. A seven-member
       Coast Guard Law Enforcement Detachment Team from San Diego was aboard
       the Moore. A helicopter from the Moore returned with videotape of the
       LayneyD going northeast along the smuggling corridor. The LayneyD was
       riding low in the water as if carrying cargo and listing to one side. A skiff was
       tied topside of the LayneyD. The LayneyD is a fishing vessel; no fishing
       activity was seen. The LayneyD flew no national flag. The Coast Guard team
       determined that the LayneyD displayed smuggling characteristics.

       Upon reestablishing visual contact with the LayneyD, the Coast Guard
       attempted radio communications with her crew. When the Coast Guard team
       asked who was speaking on the radio, only incomprehensible answers were
       made. Quinones eventually identified himself as the master of the vessel.
       When asked about the name of the vessel, the Coast Guard saw a crewmember
       of the LayneyD lean over the bow to read the name of the vessel. Quinones
       was also evasive and inconsistent with his answers about the ship’s destination
       and purpose of voyage.

       The Coast Guard team noticed that no fishing equipment was visible on the
       LayneyD, except for a gill net. The skiff was relocated from the topside of the
       LayneyD to tethered alongside her. The Coast Guard team worried that the
       crew of the LayneyD might try to scuttle the vessel to destroy evidence that
       might be aboard.


                                         Page 2 of 9
Case 8:00-cr-00117-JSM-TGW Document 400 Filed 05/17/06 Page 3 of 9 PageID 2087




       The Coast Guard team contacted its command center about boarding the
       LayneyD. The government of Colombia granted authorization to board the
       LayneyD. The vessel – due to weather – was boarded the next morning. The
       vessel was then located approximately 290 miles southwest of Equador in the
       Pacific Ocean. Upon boarding, the crew of the LayneyD was mustered on the
       stern of the vessel. The Coast Guard team noticed that the LayneyD was
       carrying bags of cement, rocks, and sand and a cement spreader. These things
       are unusual for a fishing vessel.

       Petty Officer Cook of the Coast Guard team was previously assigned to a team
       dealing with fisheries and received training at the National Maritime Fisheries
       Service. From his training, Petty Officer Cook expected to find certain things
       aboard a vessel if used for fishing: fishing equipment, a large quantity of ice,
       and a large quantity of fish (based on the LayneyD’s time at sea). All of these
       items were absent from the LayneyD. The little fishing equipment that was
       aboard was rusted, damaged, unlubricated, and clearly unused. Petty Officer
       Cook later testified – in essence – that the LayneyD was too poorly equipped
       to be suitable to her fishing purpose.

       Because the fuel tanks are a common location for hiding drugs, the Coast
       Guard queried Arroyo about the fuel tanks. Arroyo pointed out the location
       of the aft fuel tanks; and when asked directly, Arroyo indicated there was
       nothing in the starboard aft fuel tank. When the Coast Guard investigated the
       starboard aft fuel tank, they noticed an altered access plate to the tank and an
       unusual mesh material inside the sounding tube (a protruding pipe from the
       fuel tank used to measure the fuel quantity). The Coast Guard team inserted
       a metal rod into the sounding tube, and upon its extraction, they discovered a
       white powdery substance that later field-tested positive for cocaine. The
       crewmembers were placed in handcuffs.

       Quinones was still piloting the LayneyD. When the Coast Guard informed
       Quinones they had found cocaine on the vessel, Quinones nodded his head and
       answered, “Yeah, I know.” Quinones then indicated – by way of a sketch –
       where more cocaine was located on the vessel. Quinones also provided the
       coordinates where the LayneyD was to meet with another vessel.

       The Coast Guard found a patch of fresh, wet concrete that covered a hatch;
       beneath the hatch was more cocaine. The LayneyD was carrying 2,943
       kilograms of cocaine, worth more than $40,000,000 wholesale in the United
       States. The Coast Guard team notified its command center of the discovery
       and sought a statement of “no objection” from Colombia to the seizure. The

                                         Page 3 of 9
Case 8:00-cr-00117-JSM-TGW Document 400 Filed 05/17/06 Page 4 of 9 PageID 2088




       team was given permission to detain the vessel and to bring it to the Coast
       Guard base in St. Petersburg, Florida.

       A jury convicted Defendants on both counts of the indictment and further
       found that the offenses involved five kilograms or more of cocaine. Quinones
       was sentenced to 360 months’ imprisonment; Arroyo, Ocampo, Dominguez,
       and Tenorio were sentenced to 252 months’ imprisonment; and Urdin was
       sentenced to 235 months’ imprisonment.

 (Domingues was sentenced on August 2, 2001.)

       The issues on appeal were:

       (1)   The trial court erred in denying the motion for judgment of acquittal based

             upon insufficient proof of knowledge;

       (2)   The trial court erred in failing to dismiss the indictment because it lacked

             subject matter jurisdiction;

       (3)   The trial court erred in failing to dismiss the indictment due to a violation of

             the agreement between the United States and Colombia to suppress illicit

             traffic by sea;

       (4)   The trial court erred in failing to dismiss the indictment due to the fact that 46

             U.S.C. §1903 is unconstitutional;

       (5)   The trial court erred in denying the motion to suppress based upon articulable

             suspicion;

       (6)   The trial court erred in failing to dismiss the indictment because 46 U.S.C.

             §1903 unconstitutionally removes the element of a “vessel subject to the

             jurisdiction of the United States” from the jury; and


                                        Page 4 of 9
Case 8:00-cr-00117-JSM-TGW Document 400 Filed 05/17/06 Page 5 of 9 PageID 2089




         (7)    The trial court erred in failing to reduce the Appellant’s sentence based upon

                “minimal” or “minor” participant.

 The Eleventh Circuit affirmed the trial court in all respects.

         Domingues then timely filed this §2255 motion raising the following issues:

         (1)    The petitioner is actually innocent of the charges against him because he did

                not have knowledge of the conspiracy to import the drugs to the United States

                or the intent;

         (2)    The United States government is without subject matter jurisdiction in

                international waters;

         (3)    The petitioner received ineffective assistance of counsel when counsel failed

                to request a jury instruction on knowledge and intent; and

         (4)    The petitioner further received ineffective assistance of counsel when his

                appellate counsel failed to pursue the issue of a jury instruction on knowledge

                and intent.

                                           Discussion

         Claims one, three and four were considered on direct appeal and are not appropriate

 for §2255 relief. Petitioner acknowledges as much in his reply brief where he states on page

 four:

         The government is correct in the claim that prior resolution bars re-
         consideration of Petitioner’s claim of actual innocence based on a claim that
         Petitioner did not have knowledge of the conspiracy to import drugs into the
         United States. Petitioner cannot re-litigate that point on §2255 motion, and his
         inmate “counsel” should have known this. Also, Petitioner’s claims regarding

                                           Page 5 of 9
Case 8:00-cr-00117-JSM-TGW Document 400 Filed 05/17/06 Page 6 of 9 PageID 2090




        the jury instructions is without merit, at least as to the knowledge element on
        guilt/innocence.

 Grounds raised in issues one, three and four, therefore, will be denied.

        Ground two challenges this Court’s subject matter jurisdiction in international waters.

 This ground, too, was raised by Petitioner on direct appeal. The Eleventh Circuit rejected

 this contention citing United States v. Tinoco, 304 F. 3d 1088 (11th Cir. 2002) and said in

 footnote two:

        Defendants claim the MDLEA is unconstitutional on its face because – in the
        light of Apprendi v. New Jersey, 120 S.Ct. 2348 (2000) – the statute permits
        an increase in maximum punishment based on a drug quantity without an
        allegation in the indictment or a beyond-a-reasonable-doubt finding by the
        petit jury about the drug quantity. Defendants also claim that the MDLEA is
        facially unconstitutional because the element of jurisdiction by the United
        States over a vessel in international waters was not submitted to the jury. As
        a corollary to that argument, Defendants claim the district court erred when it
        instructed the jury that Defendants’ vessel was subject to the jurisdiction of the
        United States as a matter of law. These arguments are foreclosed by our
        decision in United States v. Tinoco, 304 F. 3d 1088 (11th Cir. 2002), and we
        decline to address them further. Defendants also argue that jurisdiction is
        lacking because no criminal charges were pending against Defendants in the
        United States, which – according to Defendants – is a prerequisite to
        jurisdiction under the “Agreement Between the Government of the United
        States of America and the Government of the Republic of Colombia to
        Suppress Illicit Traffic by Sea.” Statutory jurisdiction in this case is correctly
        premised on the consent extended by Colombia. 46 U.S.C. app. §
        1903(c)(1)(C)(“flag nation has consented or waived objection to the
        enforcement of United States law by the United States . . .”). And – under the
        statute – Defendants have no standing to contest the consent given by
        Colombia. 46 U.S.C. app. § 1903(d).


        Apparently realizing that this jurisdictional ground had no merit, Petitioner attempts

 to shoe-horn a Blakely/Booker argument into ground two. Petitioner had previously sought


                                           Page 6 of 9
Case 8:00-cr-00117-JSM-TGW Document 400 Filed 05/17/06 Page 7 of 9 PageID 2091




 permission to supplement his §2255 motion to add a Blakely argument, but that request was

 denied because it was futile. This Court pointed out that Blakely was not retroactive to cases

 on collateral review like Petitioner’s citing Varella v. United States, 400 F. 3d 864 (11th Cir.

 2005). Petitioner seeks to circumvent that ruling saying now that it is Booker that he seeks

 to have applied retroactively:

        In fact it is BOOKER that petitioner seeks to have this Court consider being
        applied retroactively to cases on collateral (sic), and the reasons for such
        requests are justiciable, even in light of the short treatment given by the
        Eleventh Circuit in VARELA.

 Petitioner’s reply brief, page 5.

        This attempt to again add this claim is denied because it is directly contrary to the

 previous order of this Court and because it is legally wrong. Petitioner frames this new

 argument as follows:

        However, Petitioner does not challenge the due process violation of a judge,
        and not a jury, making the drug quantity findings that were made. Petitioner’s
        claim is that whether it be by judge or jury, the findings have to be using a
        standard of beyond a reasonable doubt, as opposed to by a preponderance of
        the evidence. Petitioner was found responsible for drug quantities that were
        not made a part of the jury’s verdict, found beyond a reasonable doubt, but
        rather were found by the Court by a preponderance of the evidence, and this
        is where the fundamental error occurred in Petitioner’s sentence.

 Petitioner’s reply brief, page 5.

        This same argument has been rejected by the Eleventh Circuit in this case (see

 footnote two quoted previously) and in United States v. Shelton, 400 F. 3d 1325 (11th Cir.

 2005). In this case, as in Shelton, the judicial findings as to drug quantity did not go beyond

 the facts admitted by the defendant in the presentence report. Additionally, Booker’s only

                                           Page 7 of 9
Case 8:00-cr-00117-JSM-TGW Document 400 Filed 05/17/06 Page 8 of 9 PageID 2092




 holding was that it was error for a trial court to sentence a defendant based on judicial fact

 finding under a binding guideline. This Court has never considered the guidelines binding,

 even pre-Booker, and Petitioner points to no part of the record to support his claim.

        At his sentencing, Petitioner had no objections to the factual accuracy of the

 presentence report and he is therefore deemed to have admitted those facts. Page 5 of

 sentencing transcript, and U. S. v. Shelton, 400 F. 3d at 1330. The facts contained in the

 presentence report include in pertinent part:

        13.    When Moore’s crew members informed Quinones that they had
               discovered cocaine onboard, Quinones advised that there were
               additional amounts on the LAYNEYD, and he drew a diagram of the
               vessel and where the additional amounts were located. The Moore’s
               crew members found the hidden compartment indicated by Quinones,
               and they found additional bales of cocaine under a cemented
               compartment under the deck. The Moore’s crew inventoried the
               cocaine. Later, an analysis of the substance revealed a net weight of
               2,928 kilograms of cocaine hydrochloride with an 81 percent purity
               level. When questioned further, one of the LAYNEYD’s crew
               members informed that he had a weapon in his berth in a gym bag. A
               search revealed a loaded .38 caliber revolver in the crew area.

        14.    The United States Coast Guard Cutter Venturous towed the LAYNEYD
               to the United States Coast Guard Station in St. Petersburg, Florida,
               where the crew were arrested.

        15.    During an interview with federal officers Segundo Quinones, the
               LAYNEYD’s master, indicated that he was instructed to meet another
               ship, name unknown, at coordinates 5 degrees south latitude and 86
               degrees west longitude on April 4, 2000, approximately 500 miles west
               of Ecuador, near the Galapagos Islands. Quinones advised that his
               father, Leonardo Quinones, arranged this venture, and the elder
               Quinones advised Segundo that there was an undetermined quantity of
               cocaine aboard the LAYNEYD. Segundo Quinones reported that his
               father hired the other five crew members who were arrested on the
               voyage. Segundo stated that he informed the crew the day after their

                                          Page 8 of 9
Case 8:00-cr-00117-JSM-TGW Document 400 Filed 05/17/06 Page 9 of 9 PageID 2093




                    departure that there were drugs onboard and that all crew members
                    agreed to proceed with the trip. . . .


 Offense Conduct section of presentence report, paragraphs 13, 14 and 15, attached as Exhibit

 “B.”

          Having determined that none of the grounds raised by Petitioner have merit, the

 petition will be denied.

          It is therefore ORDERED AND ADJUDGED that:

          1.        Petitioner’s Motion to Vacate, Set Aside, or Correct Sentence Pursuant to 28

 U.S.C. §2255 (CV Dkt. #1) is DENIED.

          2.        The Clerk is to enter judgment for Respondent, United States of America,

 terminate any pending motions, and close this case.

          DONE and ORDERED in Tampa, Florida on May 17, 2006.




 Attachments:
 Exhibit “A” - Sentencing transcript, page 5
 Exhibit “B” - Offense Conduct section of presentence report, pages 2 and 3

 Copies furnished to:
 Counsel/Parties of Record
 F:\Docs\2003\03-cv-2497.deny 2255.wpd




                                             Page 9 of 9
